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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



JENNIFER STEPHENS and JAMES BRUNO, Civil Action No.
on behalf of themselves and a class of all
others similarly situated,                 CLASS ACTION COMPLAINT
                                      Plaintiffs,
v.                                                    DEMAND FOR JURY TRIAL
TARGET CORPORATION,

                                       Defendant.


           Plaintiffs Jennifer Stephens and James Bruno (“Plaintiffs”), individually and on

behalf of themselves and all others similarly situated, bring this class action lawsuit against

Defendant Target Corporation (“Target” or “Defendant”) based upon personal knowledge

as to themselves, the investigation of their counsel, and on information and belief as to all

other matters.

                                        INTRODUCTION

           1.       This is a class action lawsuit against Defendant regarding the manufacture,

distribution, and sale of its Target-branded Up & Up “non-drowsy” over-the-counter cold

and flu medicines that contain Dextromethorphan Hydrobromide (“the “Non-Drowsy

Products”).1


1
  The Non-Drowsy Products include: Up & Up Cold and Flu Daytime, Up & Up Cold Flu
Relief Daytime, Up & Up Cold Relief, Up & Up Severe Cold and Flu, Up & Up Severe
Cold and Flu Daytime, Up & Up Cough and Chest Congestion DM with Honey –
Maximum Strength, and Up & Up Cough Plus Chest Congestion. Plaintiffs reserve the
right to amend this list if further investigation and/or discovery reveals that the list should
be amended.

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           2.       The Non-Drowsy Products state prominently on the front of their labels that

they are “non-drowsy” and “daytime” products.




           3.       By prominently labeling the products as “non-drowsy” and “daytime,”

Defendant led Plaintiffs and other consumers to believe that the Non-Drowsy Products do

not cause drowsiness, and that drowsiness is not a side effect of the products.

           4.       Defendant also led Plaintiffs and other consumers to believe that the Non-

Drowsy Products are for use during the “Daytime” and intended to be used during waking

hours.

           5.       However, one of the active ingredients in the Non-Drowsy Products is

Dextromethorphan Hydrobromide (“DM HBr”). While the average consumer may not be

aware, drowsiness is a documented side effect of DM HBr at dosages recommended by

Defendant in respect to the Non-Drowsy Products. Authorities such as the National Library

of Medicine and Mayo Clinic list drowsiness as a side effect of this ingredient.2


2
  Dextromethorphan: MedlinePlus Drug Information, National Library of Medicine,
https://medlineplus.gov/druginfo/meds/a682492.html (last accessed March 23, 2022);

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           6.       Plaintiffs and Class members purchased the Non-Drowsy Products with the

expectation that the products would not cause drowsiness and that they were intended to

be used during waking hours. Because Defendant sold products to consumers that cause

drowsiness, Plaintiffs and the Class members were deprived of the benefit of their bargain.

           7.       Accordingly, Plaintiffs bring this action on behalf of themselves and the

Class for equitable relief and to recover damages and restitution for: (i) violations of the

Idaho Consumer Protection Act (Idaho Code § 48-601, et seq.); (ii) violations of the Illinois

Consumer Fraud and Deceptive Business Practices Act (815 ILCS 505/2, et seq.); (iii)

unjust enrichment; (iv) negligent misrepresentation; and (v) intentional misrepresentation.

                                             PARTIES

           8.       Plaintiff Jennifer Stephens is a resident and citizen of the state of Idaho.

Beginning in or around 2019, approximately once or twice per year, Plaintiff Stephens

purchased Up & Up Daytime Cold and Flu from a Target Retail store in Boise, Idaho.

When purchasing the Non-Drowsy Products, Plaintiff Stephens reviewed the

accompanying labels and disclosures, and understood them as representations and

warranties by Defendant that the “non-drowsy” “Daytime” products would not cause

drowsiness and could be used during the day. Plaintiff Stephens relied on these

representations and warranties in deciding to purchase the Non-Drowsy Products and these

representations and warranties were part of the basis of the bargain in that she would not


Mayo Clinic, Drugs and Supplements Dextromethorphan (Oral Route),
https://www.mayoclinic.org/drugs-supplements/dextromethorphan-oral-route/side-
effects/drg-
20068661?p=1 (last accessed March 23, 2022).

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have purchased the Non-Drowsy Products if she had known that they would cause

drowsiness. When Plaintiff Stephens took the medication as directed by Defendant, she

became unexpectedly drowsy. Plaintiff Stephens was not on any other medication that

would have caused drowsiness, and there was no other potential cause for this drowsiness,

aside from the ingredients in the medication. Plaintiff Stephens would purchase the Non-

Drowsy Products again if they were actually “non-drowsy” (i.e., if the product was sold as

advertised). Plaintiff Stephens, however, faces an imminent threat of harm because she

will not be able to rely on the labels in the future, and thus will not be able to purchase the

products.

           9.       Plaintiff James Bruno is a resident and citizen of the state of Illinois.

Beginning in or around 2019, Plaintiff Bruno purchased Non-Drowsy Products, including

Up & Up Daytime Cold and Flu and Up & Up Daytime Cold and Flu / Nighttime Cold and

Flu combo packs, multiple times per year, from the Target retail store located in Mundelein,

Illinois.        When purchasing the Non-Drowsy Products, Plaintiff Bruno reviewed the

accompanying labels and disclosures, and understood them as representations and

warranties by Defendant that the “non-drowsy” “Daytime” products would not cause

drowsiness and could be used during the day. Plaintiff Bruno relied on these

representations and warranties in deciding to purchase the Non-Drowsy Products and these

representations and warranties were part of the basis of the bargain in that he would not

have purchased the Non-Drowsy Products if he had known that they would cause

drowsiness. When Plaintiff Bruno took the medication as directed by Defendant, he

became unexpectedly drowsy. Plaintiff Bruno was not on any other medication that would


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have caused drowsiness, and there was no other potential cause for this drowsiness, aside

from the ingredients in the medication. Plaintiff Bruno would purchase the Non-Drowsy

Products again if they were actually “Non-Drowsy” (i.e., if the product was sold as

advertised). Plaintiff Bruno, however, faces an imminent threat of harm because he will

not be able to rely on the labels in the future, and thus will not be able to purchase the

products.

           10.   Target is a Minnesota corporation with its principal place of business and

headquarters located at 900 Nicollet Mall, Minneapolis, Minnesota. Target was founded

in 1902 in Minneapolis, Minnesota by George Dayton and is one of the largest retailers in

the world. At all relevant times hereto, Defendant was engaged in manufacturing,

marketing, distributing, and advertising Non-Drowsy Products throughout the United

States. Defendant created and/or authorized the false and misleading advertising and

labeling of the Non-Drowsy Products.

                               JURISDICTION AND VENUE

           11.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)

because there are more than 100 Class members; the aggregate amount in controversy

exceeds $5,000,000.00, exclusive of interest, fees, and costs; and at least one Class member

is a citizen of a state different from the Defendant.

           12.   This Court has personal jurisdiction over Defendant because Defendant is

headquartered in Minnesota, regularly conducts business in this District, and has extensive

contacts with this forum.




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           13.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Defendant is headquartered in this District, and Defendant transacts substantial business in

this District.

                                FACTUAL ALLEGATIONS

A.         Defendant Manufactures, Distributes, Markets, and Sells the Non-Drowsy
           Products

           14.   Defendant manufactures, distributes, markets, and sells the Non-Drowsy

Products.

           15.   Each of the Non-Drowsy Products prominently state on its label that the

product is “non-drowsy” and some also include the representation that the product is

intended for “daytime” use.

           16.   For example, below is an image of the Up & Up Cough and Chest

Congestion DM with Honey – Maximum Strength’s product label.




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           17.   The Up & Up Cold & Flu Daytime product label includes “non-drowsy” and
“daytime” representations.




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           18.   The Non-Drowsy Products are also sold in combo packs with “nighttime”
products. For example, below is an image of the Target Daytime Severe Cold & Flu combo
pack which includes “daytime” and “nighttime” formulations.




           19.   The “nighttime” product includes the representation that the product is for

“nighttime relief” whereas the Daytime product includes the “non-drowsy” representation.

           20.   Both products contain DM HBr, the ingredient in the Non-Drowsy Products

that causes drowsiness.

           21.   The “non-drowsy” and “daytime” representations are materially the same

across the Non-Drowsy Products.




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           22.   Based on the prominent “non-drowsy” and “daytime” representations

included on the front of each product, a reasonable consumer would believe that the

products do not cause drowsiness and that drowsiness is not a side effect of the product.

B.         Defendant’s False and Misleading Advertising Campaign

           23.   One of the active ingredients in the Non-Drowsy Products is DM HBr.

           24.   Drowsiness is a well-documented side effect of DM HBr.

           25.   For example, the Mayo Clinic and the National Library of Medicine list

drowsiness as a side-effect of the ingredient.3

           26.   Manufacturers and distributors know that DM HBr causes drowsiness as

their safety data sheets (“SDS”) explicitly state that DM HBr causes and may cause

drowsiness.

           27.   According to Pfizer’s safety datasheet for their Robitussin cough medicine.

“Common adverse reactions associated with the clinical use of dextromethorphan

hydrobromide include, drowsiness, dizziness, and nausea and vomiting”.4




3
  Dextromethorphan: MedlinePlus Drug Information, National Library of Medicine,
https://medlineplus.gov/druginfo/meds/a682492.html (last accessed March 23, 2022);
Mayo Clinic, Drugs and Supplements Dextromethorphan (Oral Route),
https://www.mayoclinic.org/drugs-supplements/dextromethorphan-oral-route/side-
effects/drg-
20068661?p=1 (last accessed March 23, 2022).
10 Dextromethorphan: MedlinePlus Drug Information, National Library of Medicine,
https://medlineplus.gov/druginfo/meds/a682492.html (last accessed March 23, 2022).
4
                 Pfizer,               Safety               Data                Sheet,
https://imgcdn.mckesson.com/CumulusWeb/Click_and_learn/SDS_9PFIZ_ROBITUSSI
N_DM_SYRP_ADLT_COUGH_CHEST_HONEY_4OZ.pdf (last accessed March 23,
2022).

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           28.    Santa Cruz Biotechnology Inc. lists acute health effects on their SDS

following the consumption of DM HBr such as “Drowsiness, dizziness, excitation, mental

confusion        and   gastro-intestinal   disturbances     have   been   described   following

dextromethorphan. Administration.”5

           29.    Peer-reviewed studies have also confirmed that drowsiness is a side effect of

DM HBr at the recommended dosages. For example, one study found that “[s]omnolence

is a common side effect of centrally acting antitussive drugs” like DM HBr, and that 10.4%

of users of products containing DM HBr develop drowsiness within three days of starting
                                                 6, 7
treatment with DM HBr cough medicine.                   The “cases of intense somnolence” were

“related only to dextromethorphan” and not to the other drug studied. And the patients in

this clinical study were given an even smaller dosage of DM HBr (15 mg three times a day)

than the recommended dose found in Non- Drowsy products.8

           30.    In other words, sedation is a well-known adverse event of this ingredient.9


5
      Dextromethorphan        Hydrobromide,       Material     Safety     Data     Sheet,
https://datasheets.scbt.com/sc-204716.pdf (last accessed March 23, 2022).
6
  E. Catena and L. Daffonchio, “Efficacy and Tolerability of Levodropropizine in Adult
Patients with Non-productive Cough, Comparison with Dextromethorphan,” 10 Pulmonary
Pharmacology & Therapeutics 89-96 (1997).
7
  The study reports this side effect as “somnolence.” Somnolence means “the quality or
state       of       being       drowsy.”        Merriam        Webster       Dictionary,
https://www.merriamwebster.com/dictionary/somnolence
8
  For example, Up & Up cold and flu daytime severe softgels contain 10mg of DM HBr
per softgel and the recommended dosage is 2 softgels (20mg of DM HBr) every 4 hours.
9
  See Martin, E., Narjoz, C., Decleves, X., Labat, L., Lambert, C., Loriot, M. A., ... &
Pickering, G. (2019). Dextromethorphan analgesia in a human experimental model of
hyperalgesia. Anesthesiology, 131(2), 356-368; see also Siu, A. and Drachtman, R. (2007),
Dextromethorphan: A Review of N-methyl-d-aspartate Receptor Antagonist in the
Management of Pain. CNS Drug Reviews, 13: 96-106. https://doi.org/10.1111/j.1527-
3458.2007.00006.x (“DM is used clinically in the form of salt, dextromethorphan

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           31.   In fact, the Federal Aviation Administration prohibits pilots from flying after

taking medicines that contain dextromethorphan. The document titled, “What Over-the-

Counter (OTC) medications can I take and still be safe to fly” lists DayQuil as a “No Go”

product because it contains dextromethorphan.10 The Non-Drowsy Products and DayQuil

both contain this ingredient. Specifically, the Non-Drowsy Products are compared to

DayQuil on the front panel of the product labels.




hydrobromide…The majority of DM’s adverse effects occur at the level of the CNS.
Neurologic toxicity associated with DM includes dystonia, fatigue, drowsiness, and
dizziness”.).
10
   Federal Aviation Administration, What Over-the-Counter (OTC) medications can I take
and                 still           be              safe              to            fly
https://www.faa.gov/licenses_certificates/medical_certification/media/OTCMedicationsf
orPilots.pdf (last accessed March 23, 2022).

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           32.   The Non-Drowsy Products do not qualify the voluntary deceptive statements

“non-drowsy” and “Daytime” with a disclaimer or qualification anywhere on the

packaging; in other words, they do not disclose anywhere on the packaging that even

though the Non-Drowsy Products affirmatively claim to be “non-drowsy” and “daytime,”

they actually do or can cause drowsiness, or that drowsiness is a side effect. Accordingly,

there is nothing on the packaging that could possibly cure or ameliorate the deception

caused by the affirmative “non-drowsy” and “Daytime” representations.11

           33.   As such, Defendant’s advertising campaign is false and misleading.

           34.   The Food and Drug Administration (“FDA”) prohibits labeling drugs with

“false or misleading” statements. 21 C.F.R. § 201.6. It is misleading to label a product

“non-drowsy” when it does cause drowsiness, or if drowsiness is a known side effect of

one of its active ingredients.

           35.   This case is about Defendant’s affirmative, “non-drowsy” representation on

the Non-Drowsy Product labels. No FDA regulation allows antitussives containing DM

HBr to be labelled “non-drowsy” and the FDA has never considered whether this claim is

false and misleading.

           36.   Based on the fact that Defendant labelled the Non-Drowsy Products as “non-

drowsy,” a reasonable consumer would expect that those products do not cause drowsiness.

Similarly, a reasonable consumer would expect that drowsiness is not a side effect of the



11
   To be clear, Plaintiffs do not contend that Defendant has a duty to warn that its products
cause drowsiness in the absence of any affirmative misrepresentation; they contend that it
is deceptive to affirmatively label the Non-Drowsy Products “non-drowsy” and “daytime.”

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products.        Indeed, according to Consumer Reports, “‘Non-drowsy’ is code for

antihistamines and other medications that don’t make you sleepy.”12 This is the plain

meaning of “non-drowsy,” which means “not causing or accompanied by drowsiness.”

           37.   While the Federal Regulations relating to the labelling of antitussive drug

products do not require products with DM HBr to include an affirmative “drowsiness”

warning, see generally, 21 C.F.R. § 341.74, Defendant could have simply omitted the false

and misleading “non-drowsy” representations from its product labels.

           38.    Other drug makers do not falsely claim that products that include DM HBr

are “non-drowsy.” For example, Coricidin is a cold symptom relief product for people

with high blood pressure. Coricidin is manufactured, sold, and advertised by Bayer. This

product contains DM HBr and omits false representations by not labeling the product as

“non-drowsy.”




12
    How to read over the counter (OTC) drug labels, Consumer Reports,
https://www.consumerreports.org/cro/2014/04/how-to-read-over-the-counter-
druglabels/index.htm

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           39.   Or, if Defendant wanted to differentiate its Daytime products from its

Nighttime products, it could have indicated on the product label that the Daytime products

would cause less drowsiness than the Nighttime products. For example, the below

Dramamine product is advertised as a “less drowsy” formula.




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           40.   Whether or not an over-the-counter drug causes drowsiness is material to a

reasonable customer. In certain situations, consumers prefer over-the-counter drugs that

will not make them drowsy to products that may make them drowsy. For example, all

else equal, a reasonable consumer would prefer to take a drug that does not cause

drowsiness to one that does cause drowsiness during the day (or any periods of time

when they plan to be awake). As a second example, if a consumer is planning to engage

in activities that require them to be alert, or during which they would prefer to be alert,

that consumer would prefer to take a drug that does not cause drowsiness to one that

does. Indeed, in many situations, taking a drug that does or can cause drowsiness can be

dangerous. For example, taking a drug that causes drowsiness while driving is

dangerous.

           41.   Because Defendant makes and sells the Non-Drowsy Products, Defendant

researched the known and common side effects of DM HBr. This is diligence that a large

company like Defendant would do when selling a drug. As a result, Defendant knew that

DM HBr causes drowsiness. Furthermore, Defendant controls its labeling, knowingly put

on the “non-drowsy” representations, and knows the plain meaning of “non-drowsy.”

Finally, it is standard practice in the industry to test labeling with consumers, and

Defendant’s testing would confirm that “non-drowsy” is misleading. For these reasons,

Defendant knew that its labeling was false and misleading, or was reckless or willfully

blind to this fact. And as alleged above, Defendant intended that consumers would rely

on the “non-drowsy” labeling, so that consumers would purchase more products and pay

a price premium.


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           42.   Defendant’s false statements increased the demand for its Non-Drowsy

Products and allowed Defendant to charge a price premium. As explained above,

consumers specifically value the “non-drowsy” claim because consumers demand cough

medicine that will not make them drowsy (e.g., during the day, at work or while driving).

As a result, Defendant was able to charge more for these products than it would have

been able to had the labeling been truthful. Accordingly, as a direct result of Defendant’s

false statements, Defendant was able to charge a price premium for these products. As

purchasers, Plaintiffs and each class member paid this price premium and sustained

economic injury.

           43.   For example, a bottle of the Up & Up cold and flu daytime severe product

is currently priced at $7.49 for a 24 softgels on Target’s website. This price is artificially

inflated by the misleading “non-drowsy” claim. If this misleading claim were removed,

demand would drop, which in turn would reduce the market price. This price premium

can be quantified (i.e., a dollar figure measured) using expert economic analysis of data

that includes, among other things, sales and pricing information uniquely within the

possession of Defendant.

           44.   In addition, because the Non-Drowsy Products actually do cause

drowsiness, Plaintiffs and each class member did not get what they paid for: a cough

medicine that does not cause drowsiness. Instead, they received something that is worth

less: a cough medicine that does cause drowsiness. Plaintiffs and each class member

sustained an economic injury for this additional reason, i.e., they received something

worth less than the price they paid for it.


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           45.   As a result, the products that Plaintiffs and each class member did receive

in exchange for the price they paid—Non-Drowsy Products that cause drowsiness—were

not suitable for, and were thus worthless for, their intended purpose. Therefore, the

economic injury Plaintiffs and each class member sustained consists of the entire

purchase price of the products, because what they received was worthless for its intended

use.

           46.   Defendant intended that consumers would rely on the “non-drowsy” and

“daytime” labeling so that consumers would purchase more products, pay a price

premium, and buy them as alternatives to its “nighttime” products. The product labels do

not warn consumers that even though the products are labelled “non-drowsy” and

“daytime,” contrary to those representations, the products cause drowsiness, may cause

drowsiness, or you may get drowsy from the usage of such products thereby creating an

unreasonable risk of harm as a result of the affirmative deceptive “non-drowsy” and

“daytime” statements, which are not qualified anywhere on the packaging.

C.         Consumers Have Been Harmed By Defendant’s False Representations

           47.   Defendant knew, or should have known, that Defendant’s Non-Drowsy

Products are misbranded because they contain DM HBr which causes drowsiness in

consumers.

           48.   Defendant knew, or should have known, that its products misrepresented

material facts concerning the “non-drowsy” and “daytime” representations when in fact

the products contained an ingredient that causes drowsiness.




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           49.   Defendant knew, or should have known, that the representations and

statements through its labeling prescribes dangerous uses.

           50.   Plaintiffs would not have purchased the Non-Drowsy Products, or would

have paid less for them, had the Non-Drowsy Products been truthfully and accurately

labeled.

                             CLASS ACTION ALLEGATIONS

           51.   Plaintiffs bring this action pursuant to Rule 23(a), (b)(2), and (b)(3) of the

Federal Rules of Civil Procedure, individually and on behalf of the following Classes:

                 All persons who purchased one or more of Defendant’s Non-
                 Drowsy Products in the United States for personal/household use
                 within any applicable limitations period (the “Nationwide Class”).

           52.   Plaintiff Stephens brings this action individually and on behalf of the
following Idaho subclass:

                 All persons who purchased one or more of Defendant’s Non-
                 Drowsy Products in the state of Idaho for personal/household use
                 within any applicable limitations (the “Idaho Subclass”).

           53.   Plaintiff Bruno brings this action individually and on behalf of the following
Illinois subclass:
               All persons who purchased one or more of Defendant’s Non-
               Drowsy Products in the state of Illinois for personal/household use
               within any applicable limitations (the “Illinois Subclass”).

           54.   Excluded from the Class and Subclasses are: (1) any Judge or Magistrate

presiding over this action and any members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entities in which Defendant or its

parents and any entities in which Defendant has a controlling interest and its current or




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former employees, officers, and directors; and (3) individuals who allege personal bodily

injury resulting from the use of the Non-Drowsy Products.

           55.   Numerosity (Rule 23(a)(1)): The exact number of members of the Class is

unknown and currently unavailable to Plaintiffs, but joinder of individual members herein

is impractical. The Class is likely comprised of thousands of consumers. The precise

number of Class members, and their addresses, is unknown to Plaintiffs at this time, but

can be ascertained from Defendant’s records and/or retailer records. The members of the

Class may be notified of the pendency of this action by mail or email, Internet postings

and/or publications, and supplemented (if deemed necessary or appropriate by the Court)

by published notice.

           56.   Predominant Common Questions (Rule 23(a)(2) and (b)(3)): The Class’s

claims present common questions of law and fact, and those questions predominate over

any questions that may affect individual Class members. The common and legal questions

include, but are not limited to, the following:

                    a. Whether the Non-Drowsy Products cause drowsiness;

                    b. Whether Defendant’s labelling of the Non-Drowsy Products as “non-

                       drowsy” and “daytime” is false, misleading, and/or deceptive;

                    c. Whether Defendant violated the state consumer protection statutes

                       alleged herein;

                    d. Whether Defendant was unjustly enriched; and

                    e. The nature of relief, including damages and equitable relief, to which

                       Plaintiffs and members of the Class are entitled.


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           57.   Typicality of Claims (Rule 23(a)(3)): Plaintiffs’ claims are typical of the

claims of the Class because Plaintiffs, like all other Class Members, purchased the Non-

Drowsy Products, suffered damages as a result of that purchase, and seek the same relief

as the proposed Class members.

           58.   Adequacy of Representation (Rule 23(a)(4)): Plaintiffs adequately represent

the Class because their interests do not conflict with the interests of the members of the

Class, and they have retained counsel competent and experienced in complex class action

and consumer litigation. Plaintiffs and their counsel will fairly and adequately protect the

interest of the members of the Class.

           59.   Superiority (Rule 23(b)(3)): A class action is superior to other available

means of adjudication for this controversy. It would be impracticable for members of the

Class to individually litigate their own claims against Defendant because the damages

suffered by Plaintiffs and the members of the Class are relatively small compared to the

cost of individually litigating their claims. Individual litigation would create the potential

for inconsistent judgments and delay and expenses to the court system. A class action

provides an efficient means for adjudication with fewer management difficulties and

comprehensive supervision by a single court.

           60.   Declaratory Relief (Fed. R. Civ. P. 23(b)(1) and (2)): In the alternative, this

action may properly be maintained as a class action because the prosecution of separate

actions by individual members of the Class would create a risk of inconsistent or varying

adjudication with respect to individual Class members, which would establish

incompatible standards of conduct for the Defendant; or the prosecution of separate actions


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by individual Class members would create a risk of adjudications with respect to individual

members of the Class which would, as a practical matter, be dispositive of the interests of

other members of the Class not parties to the adjudications, or substantially impair or

impede their ability to protect their interests; or Defendant has acted or refused to act on

grounds generally applicable to the Class, thereby making appropriate final injunctive or

corresponding declaratory relief with respect to the Class as a whole.

                                    CAUSES OF ACTION

                                             COUNT I

            VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
                              Idaho Code § 48-601, et seq.
                (On Behalf of Plaintiff Stephens and the Idaho Subclass)

           61.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and

restate them as if fully set forth herein.

           62.   Defendant is a “person” as defined by Idaho Code § 48-602(1).

           63.   Defendant’s conduct as alleged herein pertained to “goods” as defined by

Idaho Code § 48-602(6).

           64.   Defendant advertised, offered, or sold goods in Idaho and engaged in trade

or commerce directly or indirectly affecting the people of Idaho.

           65.   Defendant engaged in unfair and deceptive acts or practices, and

unconscionable acts and practices, in the conduct of trade and commerce with respect to

the sale and advertisement of the Non-Drowsy Products, in violation of Idaho Code §§

48-603, including representing that the Non-Drowsy Products do not cause drowsiness,




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and are intended to be used during waking hours, when in fact, the products do cause

drowsiness.

           66.   As a result of engaging in such conduct, Defendant has violated Idaho Code

§§ 48-603(5)(7), and (9).

           67.   Defendant’s representations were material because they were likely to

deceive reasonable consumers.

           68.   Defendant intended to mislead Plaintiff Stephens and Idaho Subclass

members and induce them to rely on its misrepresentations. Defendant knew its

representations were false at the time they were made.

           69.   Defendant acted intentionally, knowingly, and maliciously to violate

Idaho’s Consumer Protection Act, and recklessly disregarded Plaintiff Stephens’ and

Idaho Subclass members’ rights. Defendant’s knowledge of the ingredients used in its

products put it on notice that the Non-Drowsy Products were not as it advertised.

           70.   As a direct and proximate result of Defendant’s deceptive acts and

practices, Plaintiff Stephens and absent Idaho Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and

non-monetary damages, including from not receiving the benefit of their bargain in

purchasing the Non-Drowsy Products.




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           71.   Plaintiff Stephens and Idaho Subclass members seek all monetary and non-

monetary relief allowed by law, including damages, punitive damages, injunctive relief,

costs, and attorneys’ fees.

                                             COUNT II

                 VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
                     DECEPTIVE BUSINESS PRACTICES ACT
                             815 Ill. Comp. Stat. §§ 505, et seq.
                     (On Behalf Plaintiff Bruno and the Illinois Subclass)

           72.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and

restate them as if fully set forth herein.

           73.   Plaintiff Bruno and Illinois Subclass members are consumers under the

Illinois Consumer Fraud Act and Defendant is a “person” within the meaning of 815 Ill.

Comp. Stat. 510/1(5).

           74.   Defendant engaged, and continues to engage, in the wrongful conduct

alleged herein in the course of trade and commerce, as defined in 815 ILCS 505/2 and 815

ILCS 510/2.

           75.   Specifically, 815 ILCS 505/2 (Illinois Consumer Fraud Act) prohibits:

                 [u]nfair methods of competition and unfair or deceptive acts or
                 practices, including but not limited to the use or employment
                 of any deception, fraud, false pretense, false promise,
                 misrepresentation or the concealment, suppression or omission
                 of any material fact, with intent that others rely upon the
                 concealment, suppression or omission of such material fact, or
                 the use or employment of any practice described in Section 2
                 of the ‘Uniform Deceptive Trade Practices Act,’ approved
                 August 5, 1965, in the conduct of any trade or commerce are
                 hereby declared unlawful whether any person has in fact been
                 misled, deceived or damaged thereby. In construing this
                 section consideration shall be given to the interpretations of the

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                 Federal Trade Commission and the federal courts relating to
                 Section 5(a) of the Federal Trade Commission Act.

           76.   815 ILCS 510/2 provides that a:

                 person engages in a deceptive trade practice when, in the
                 course of his or her business, vocation, or occupation,” the
                 person does any of the following: “(2) causes likelihood of
                 confusion or of misunderstanding as to the source,
                 sponsorship, approval, or certification of goods or services; ...
                 (5) represents that goods or services have sponsorship,
                 approval, characteristics, ingredients, uses, benefits, or
                 quantities that they do not have...; (7) represents that goods or
                 services are of a particular standard, quality, or grade... if they
                 are not; ... [and] (12) engages in any other conduct which
                 similarly creates a likelihood of confusion or
                 misunderstanding.

           77.   Defendant’s representations concerning the true nature of Defendant’s Non-

Drowsy Products were false and/or misleading as alleged herein.

           78.   Defendant’s foregoing deceptive acts and practices were likely to deceive,

and did deceive, consumers acting reasonably under the circumstances. Consumers,

including Plaintiff Bruno and Illinois Subclass members, would not have purchased the

Non-Drowsy Products had they known the products contained an ingredient that has a side

effect of drowsiness. These claims, alone or in tandem, are deceptive.

           79.   Defendant’s false or misleading representations were such that a reasonable

consumer would attach importance to them in determining his or her purchasing decision.

           80.   Defendant’s false and misleading representations were made to the entire

Illinois Subclass as they were prominently displayed on the packaging of every one of the

Non-Drowsy Products and on Defendant’s website.



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           81.   Defendant knew or should have known its representations were material and

were likely to mislead consumers, including Plaintiff Bruno and the Illinois Subclass.

           82.   Defendant’s practices, acts, and course of conduct in marketing and selling

the Non-Drowsy Products were and are likely to mislead a reasonable consumer acting

reasonably under the circumstances to his or her detriment.

           83.   Defendant profited from the sale of the falsely, deceptively, and unlawfully

advertised the Non-Drowsy Products to unwary consumers.

           84.   Defendant’s wrongful business practices constituted, and constitute, a

continuing course of conduct in violation of the Illinois Consumer Fraud Act.

           85.   Defendant’s wrongful business practices were a direct and proximate cause

of actual harm to Plaintiff Bruno and to each Class member.

           86.   As a direct and proximate result of Defendant’s unfair and deceptive trade

practices, Plaintiff Bruno and the other Illinois Subclass members have suffered

ascertainable loss and actual damages. Plaintiff Bruno and the other Illinois Subclass

members who purchased the Non-Drowsy Products would not have purchased them, or,

alternatively, would have paid less for them had the truth about the non-conforming

ingredients been disclosed. Plaintiff Bruno and the other Illinois Subclass members did not

receive the benefit of their bargain. Plaintiff Bruno and the other Illinois Subclass members

are entitled to recover actual damages, attorneys’ fees and costs, and all other relief allowed

under 815 Ill Comp. Stat. 505/1, et seq.




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                                          COUNT III
                                UNJUST ENRICHMENT
   (On behalf of the Plaintiffs and the Nationwide Class or, alternatively, the Idaho
                                 and Illinois Subclasses)

           87.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and

restate them as if fully set forth herein.

           88.   Plaintiffs and Class members conferred benefits upon Defendant. Plaintiffs

and Class members paid money for Defendant’s Non-Drowsy Products that they would not

have paid, had they known that the products cause drowsiness.

           89.   Defendant has unjustly retained the benefits conferred upon by Plaintiffs and

Class members.

           90.   Defendant retained those benefits under circumstances that make it

inequitable for Defendant to retain such benefits. Specifically, Defendant retained those

benefits even though Defendant’s Non-Drowsy Products cause drowsiness. If Plaintiffs

and Class members had known the true nature of Defendant’s Non-Drowsy Products, they

would not have purchased the products. Plaintiffs and Class members are therefore entitled

to disgorgement and/or restitution as prayed for hereunder.

           91.   Because Defendant’s retention of the non-gratuitous benefits conferred on it

by Plaintiffs and members of the Class is unjust and inequitable, Defendant must pay

restitution to Plaintiffs and members of the Class for its unjust enrichment, as ordered by

the Court.




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                                             COUNT IV

                       NEGLIGENT MISREPRESENTATION
   (On behalf of the Plaintiffs and the Nationwide Class or, alternatively, the Idaho
                                 and Illinois Subclasses)

           92.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and

restate them as if fully set forth herein.

           93.   Plaintiffs bring this claim against Defendant on behalf of themselves and the

proposed Class.

           94.   Defendant has made material misrepresentations of fact concerning the

nature of, and ingredients in, the Non-Drowsy Products to Plaintiffs and the Class.

           95.   Defendant has and had no reasonable basis for believing that their

misrepresentations were true.

           96.   Defendant knew, or should have known, that Plaintiffs and the members of

the Class would rely on the false representations about the nature of, and ingredients in,

the Non-Drowsy Products.

           97.   Defendant’s false representations about the ingredients of the Non-Drowsy

Products are objectively material to reasonable consumers, and therefore reliance upon

such representations may be presumed as a matter of law.

           98.   Plaintiffs and members of the Class have read and reasonably relied to their

detriment on Defendant’s false and misleading representations, which caused them to

purchase the Non-Drowsy Products.

           99.   As a proximate result of Defendant’s negligent misrepresentations, Plaintiffs

and each member of the Class have been damaged in the amount of the purchase price of


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the Non-Drowsy Products and any consequential damages resulting from their purchases,

including sales tax.

                                             COUNT V

                      INTENTIONAL MISREPRESENTATION
   (On behalf of the Plaintiffs and the Nationwide Class or, alternatively, the Idaho
                                 and Illinois Subclasses)

           100.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and

restate them as if fully set forth herein.

           101.   Defendant has intentionally made material misrepresentations of fact

concerning the nature of, and ingredients in, the Non-Drowsy Products to Plaintiffs and the

Class.

           102.   Defendant knew that the intentional misrepresentations herein were false at

the time they were made.

           103.   Defendant intended that Plaintiffs and members of the Class would rely on

the false representations and purchase Defendant’s Non-Drowsy Products.

           104.   Defendant’s false representations are objectively material to reasonable

consumers and therefore reliance upon such representations may be presumed as a matter

of law.

           105.   Plaintiffs and members of the Class reasonably relied to their detriment on

Defendant’s intentional misrepresentations.

           106.   Defendant’s intentional misrepresentations were a substantial factor in

causing Plaintiffs and members of the Class to purchase the Non-Drowsy Products.




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           107.   Defendant has acted with malice by engaging in conduct that was and is

intended to cause injury to Plaintiffs and the members of the Class.

           108.   Defendant has committed fraud through their intentional misrepresentations,

deceit, and/or concealment of material facts known to Defendant with the intent to cause

injury to the purchasers of the Non-Drowsy Products.

           109.   As a proximate result of Defendant’s intentional misrepresentations,

Plaintiffs and the members of the Class suffered an ascertainable loss and are entitled to

relief and compensatory and punitive damages, as allowable by law, in an amount to be

determined at trial.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, pray

for relief and judgment against Defendant as follows:

           a.     Certifying the Classes pursuant to Rule 23 of the Federal Rules of Civil

                  Procedure, appointing Plaintiffs as representatives of the Class, and

                  designating Plaintiffs’ counsel as Class Counsel;

           b.     Awarding Plaintiffs and the Classes compensatory damages, in an amount

                  exceeding $5,000,000, to be determined by proof;

           c.     Awarding Plaintiffs and the Classes appropriate relief, including but not

                  limited to actual damages;

           d.     For declaratory and equitable relief, including restitution and disgorgement;

           e.     For an order enjoining Defendant from continuing to engage in the wrongful

                  acts and practices alleged herein;


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           f.       Awarding Plaintiffs and the Classes the costs of prosecuting this action,

                    including expert witness fees;

           g.       Awarding Plaintiffs and the Classes reasonable attorneys’ fees and costs as

                    allowable by law;

           h.       Awarding pre-judgment and post-judgment interest;

           i.       For punitive damages as allowable by law; and

           j.       Granting any other relief as this Court may deem just and proper.

                                   JURY TRIAL DEMANDED

           Plaintiffs hereby demand a trial by jury of all claims so triable.



 Dated: June 15, 2022                            LOCKRIDGE GRINDAL NAUEN P.L.L.P.


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